Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1108 Page 1 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1109 Page 2 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1110 Page 3 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1111 Page 4 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1112 Page 5 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1113 Page 6 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1114 Page 7 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1115 Page 8 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1116 Page 9 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1117 Page 10 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1118 Page 11 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1119 Page 12 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1120 Page 13 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1121 Page 14 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1122 Page 15 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1123 Page 16 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1124 Page 17 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1125 Page 18 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1126 Page 19 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1127 Page 20 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1128 Page 21 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1129 Page 22 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1130 Page 23 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1131 Page 24 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1132 Page 25 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1133 Page 26 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1134 Page 27 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1135 Page 28 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1136 Page 29 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1137 Page 30 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1138 Page 31 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1139 Page 32 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1140 Page 33 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1141 Page 34 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1142 Page 35 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1143 Page 36 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1144 Page 37 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1145 Page 38 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1146 Page 39 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1147 Page 40 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1148 Page 41 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1149 Page 42 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1150 Page 43 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1151 Page 44 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1152 Page 45 of 46
Case 2:16-cv-01198-CW Document 80 Filed 06/05/17 PageID.1153 Page 46 of 46
